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 6 Attorney for Plaintiff,
   TAMARA WILLIAMS,
 7
 8                         UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 9
   TAMARA WAREKA p/k/a TAMARA Case No. 23-cv-02158
10 WILLIAMS
                                         COMPLAINT FOR DAMAGES AND
11                          Plaintiff,   INJUNCTIVE RELIEF
12 v.                              COPYRIGHT INFRINGEMENT
13 HB USA HOLDINGS, INC d/b/a HUDA
   BEAUTY; and DOES 1 through 10
14 inclusive,                      DEMAND FOR JURY TRIAL
15                             Defendants.
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17
            Plaintiff, Tamara Williams alleges as follows:
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                                 JURISDICTION AND VENUE
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            1.     This is a civil action seeking damages and injunctive relief for
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     copyright infringement under the Copyright Act of the United States, 17 U.S.C. §
21
     101 et seq.
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            2.     This Court has subject matter jurisdiction over Plaintiff’s claims for
23
     copyright infringement pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a).
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            3.     This Court has personal jurisdiction over Defendant because Defendant
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     conducts business and/or resides within this judicial district, Defendant’s acts of
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     infringement complained of herein occurred in this judicial district, and Defendant
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     caused injury to Plaintiff within this judicial district.
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            4.     Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
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                                             COMPLAINT
 1 1400(a) in that this is the judicial district in which a substantial part of the acts and
 2 omissions giving rise to the claims occurred. Alternatively, venue is also proper
 3 pursuant to 28 U.S.C. § 1400(b) because the Defendant resides and has a regular and
 4 established place of business in this judicial district.
 5                                         PARTIES
 6          5.     Plaintiff Tamara Wareka p/k/a Tamara Williams (“Williams”) is an
 7 individual and professional photographer.
 8          6.     Defendant HB USA Holdings d/b/a Huda Beauty (“Defendant”) is a
 9 Delaware corporation with a principal place of business in Culver City, California.
10          7.     Plaintiff is unaware of the true names and capacities of the Defendants
11 sued herein as DOES 1 through 10, inclusive, and for that reason, sues such
12 Defendants under such fictitious names. Plaintiff is informed and believes and on that
13 basis alleges that such fictitiously named Defendants are responsible in some manner
14 for the occurrences herein alleged, and that Plaintiff’s damages as herein alleged
15 were proximately caused by the conduct of said Defendants. Plaintiff will seek to
16 amend the complaint when the names and capacities of such fictitiously named
17 Defendants are ascertained. As alleged herein, “Defendant” shall mean all named
18 Defendants and all fictitiously named Defendants.
19          8.     For the purposes of this Complaint, unless otherwise indicated,
20 “Defendant” includes all agents, employees, officers, members, directors, heirs,
21 successors, assigns, principals, trustees, sureties, subrogates, representatives and
22 insurers of the Defendants named in this caption.
23                               FACTUAL ALLEGATIONS
24                                 Plaintiff Tamara Williams
25          9.     Tamara Williams is a highly successful freelance photographer
26 specializing in beauty and fashion photography. Williams is most well-known for her
27 natural and clean model portraiture featured on her highly popular Instagram account
28 @tamarawilliams, which has amassed almost 600,000 followers.
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                                           COMPLAINT
 1          10.   Williams’ work has been featured in top publication such as Vogue,
 2 Harper’s Bazaar, Marie Claire, Elle, L’Officiel, Glamour, Cosmopolitan, Maxim,
 3 and many more. Additionally, her work has been used commercially by brands such
 4 as NARS, KKW, Fenty, and Benefit.
 5          11.   Williams is the sole creator and exclusive rights holder to a beauty
 6 photograph of model Veridiana (the “Veridiana Image”).
 7          12.   Williams has registered the Veridiana Image with the United States
 8 Copyright Office under registration number VA 2-130-596.
 9          13.   Williams is the sole creator and exclusive rights holder to a beauty
10 photograph of model Kiana Alexis (the “Kiana Image”)
11          14.   Williams has registered the Kiana Image with the United States
12 Copyright Office under registration VA 2-116-920.
13          15.   Williams is the sole creator and exclusive rights holder to a beauty
14 photograph of model Ming Savannah Nembhard (the “Ming Image”).
15          16.   Williams has registered the Ming Image with the United States
16 Copyright Office under registration VA 2-116-904.
17          17.   Williams is the sole creator and exclusive rights holder to a beauty
18 photograph of model Elizabeth Sawartsky (the “Elizabeth Image”).
19          18.   Williams has registered the Elizabeth Image with the United States
20 Copyright Office under registration VA 2-116-917.
21          19.   The Veridiana Image, Kiana Image, Ming Image, and Elizabeth Image
22 will be collectively referred to as the “Beauty Photographs”.
23          20.   Attached hereto as Exhibit A are true and correct copies of the Beauty
24 Photographs.
25                 Defendant HB USA Holdings, Inc d/b/a Huda Beauty.
26          21.   According to its website, Defendant HB USA Holdings, Inc d/b/a Huda
27 Beauty (“Huda”) is “the world’s fastest-growing beauty brands” with the “number 1
28 Beauty          Instagram        account        in       the       world”.       See
                                            3
                                         COMPLAINT
 1 https://hudabeauty.com/us/en_US/aboutus.html.
 2         22.    Huda sells their cosmetics and other beauty items online via its website
 3 as well as online at Sephora Cosmetics and in Sephora Cosmetics brick-and-mortar
 4 stores. See https://www.sephora.com/search?keyword=HUDA.
 5         23.    Defendant runs and operates the @hudabeauty Instagram page
 6 (“Defendant’s Instagram”). See https://www.instagram.com/hudabeauty.
 7         24.    Defendant’s Instagram has over fifty million followers. Id.
 8                            Defendant’s Infringing Conduct
 9         25.    On or about February 4, 2023, Williams discovered her Beauty
10 Photographs in a single post on Defendant’s Instagram (the “Infringing Post”), which
11 has accumulated over 143,000 likes.
12         26.    A true and correct screenshot of the Beauty Photographs being
13 displayed with the Infringing Post is attached hereto as Exhibit B.
14         27.    Williams does not have record of the Beauty Photographs being
15 licensed to Defendant nor had Williams granted permission for Defendant to make
16 copies or publically display the Beauty Photographs on Defendant’s Instagram with
17 the Infringing Post.
18         28.    On information and belief, Defendant’s use of the Beauty Photographs
19 was deliberate and willful because it knew or should have known that it did not
20 purchase a license to use the Beauty Photographs.
21                               CAUSE OF ACTION
                             COPYRIGHT INFRINGEMENT
22                               17 U.S.C. § 101 et seq.
23         29.    Plaintiff incorporates by reference all of the above paragraphs of this
24 Complaint as though fully stated herein. Plaintiff did not consent to, authorize,
25 permit, or allow in any manner the said use of Plaintiff’s unique and original Beauty
26 Photographs.
27         30.    Plaintiff is informed and believes and thereon alleges that the
28 Defendants willfully infringed upon Plaintiff’s copyrighted Beauty Photographs in
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                                         COMPLAINT
 1 violation of Title 17 of the U.S. Code, in that it used, published, communicated,
 2 benefited through, posted, publicized, and otherwise held out to the public for
 3 commercial benefit, the original and unique Beauty Photographs of the Plaintiff
 4 without Plaintiff’s consent or authority, and acquired monetary gain and market
 5 benefit as a result.
 6          31.   Specifically, Defendant made unauthorized copies and then publically
 7 displayed the Beauty Photographs with the Infringing Post on Defendant’s Instagram.
 8          32.   As a result of Defendants’ violations of Title 17 of the U.S. Code,
 9 Plaintiff is entitled to any actual damages pursuant to 17 U.S.C. §504(b), or statutory
10 damages in an amount up to $150,000.00 if willful or up to $30,000 if unintentional
11 pursuant to 17 U.S.C. § 504(c).
12          33.   Plaintiff is also entitled to injunctive relief to prevent or restrain
13 infringement of her copyright pursuant to 17 U.S.C. § 502.
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15
                                    PRAYER FOR RELIEF
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     WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
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     •      For an award of actual damages and disgorgement of all of Defendant’s
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     profits attributable to the infringement as provided by 17 U.S.C. § 504 in an amount
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     to be proven or, in the alternative, at Plaintiff’s election, an award for statutory
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     damages against Defendant in an amount up to $150,000.00 for each infringement
21
     pursuant to 17 U.S.C. § 504(c), whichever is larger;
22
     •      For costs of litigation and reasonable attorney’s fees against Defendant
23
     pursuant to 17 U.S.C. § 505;
24
     •      For an injunction preventing Defendant from further infringement of all
25
     copyrighted works of the Plaintiff pursuant to 17 U.S.C. § 502;
26
     •      For pre judgment interest as permitted by law; and
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     •      For any other relief the Court deems just and proper.
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                                          COMPLAINT
 1 Dated: March 22, 23        Respectfully submitted,
 2                            /s/ Mathew K. Higbee
                              Mathew K. Higbee, Esq.
 3                            Cal. Bar No. 241380
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                         COMPLAINT
 1                            DEMAND FOR JURY TRIAL
 2        Plaintiff, Tamara Williams hereby demands a trial by jury in the above matter.
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 4 Dated: March 22, 23                           Respectfully submitted,
 5                                               /s/ Mathew K. Higbee
                                                 Mathew K. Higbee, Esq.
 6                                               Cal. Bar No. 241380
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